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                                       8
                                                                UNITED STATES DISTRICT COURT
                                       9
                                                              CENTRAL DISTRICT OF CALIFORNIA
                                      10

                                      11
                                           PLUTOS SAMA HOLDINGS, INC.            Case No.: 8:21-cv-00133-JVS-JDE
2029 Century Park East, Suite 400




                                      12
     Los Angeles, CA 90067




                                                        Plaintiff,
         LevatoLaw, LLP




                                      13
                                                                                 PLAINTIFF PLUTOS SAMA
                                      14         v.                              HOLDINGS, INC.’S OPPOSIITON
                                                                                 TO DEFENDANT PLATINUM
                                      15
                                           JAGEX LIMITED; YAN                    FORTUNE, LP’S MOTION TO
                                      16   JINGGANG, HUARONG                     DISMISS AMENDED
                                           INTERNATIONAL TRUST CO.               COMPLAINT
                                      17
                                           LTD; SHANGHAI HONGTOU
                                      18   NETWORK TECHNOLOGY CO.                Hearing
                                      19
                                           LTD; SHANGHAI HONGTOU                 Date: December 6, 2021
                                           NETWORK TECHNOLOGY CO.                Time: 1:30 pm
                                      20   LTD TRUST; CHINA MINSHENG             Judge: Hon. James V. Selna
                                      21
                                           TRUST CO, LTD; PLATINUM               Ctrm: 10C
                                           FORTUNE, LP; MACARTHUR
                                      22   FORTUNE HOLDING, LLC;
                                      23
                                           BELLE LIU, DI XI HUANG;
                                           DUKE LI ZHU; and DOES 1-20
                                      24

                                      25                Defendants.

                                      26

                                      27

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  1                MEMORANDUM OR POINTS AND AUTHORITIES
  2    I.    INTRODUCTION
  3          Plaintiff Plutos Sama Holdings, Inc. (“Plaintiff”) hereby submits its
  4    opposition to the Motion to Dismiss the Second Amended Complaint (“Motion”)
  5    filed by Defendant Platinum Fortune, LP (“Platinum”). Platinum’s motion seeks
  6    dismissal of each claim against it for violations of RICO, Penal Code Section
  7    496, intentional interference with contractual relations and tortious interference
  8    with prospective economic relations.
  9          With respect to Platinum's motion to dismiss the RICO conspiracy claim,
 10    Platinum mischaracterizes the law and the facts. In an effort to escape liability
 11    for its participation in the RICO conspiracy, Platinum asserts a pleading standard
 12    that is not supported by the law by arguing that Plaintiff must show that Platinum
 13    itself performed two predicate acts and that Plaintiff was harmed as a proximate
 14    result of Platinum's predicate acts. As the relevant case law described below
 15    establishes, however, to plead a RICO conspiracy a plaintiff need only show that
 16    a specific conspirator performed predicate acts in furtherance of the RICO
 17    conspiracy or that they merely agreed to participate in the conspiracy. Not both.
 18    Moreover, the Court may infer an agreement to participate from the relevant
 19    facts. The Second Amended Complaint (“SAC”), which includes more than
 20    thirty-five (35) paragraphs describing in detail Platinum's unlawful conduct and
 21    participation in the RICO conspiracy plus many more paragraphs describing in
 22    detail the conduct of Platinum's agents and representatives such as Defendants
 23    Duke Li Zhu, Belle Liu, Di Xi Huang and Macarthur Fortune Holding LLC.
 24    These substantial allegations more than satisfy this standard. Indeed, although it
 25    is not required, the SAC includes sufficient allegations to show both that
 26    Platinum agreed to participate in the RICO conspiracy, which harmed Plaintiff,
 27    (which is all it must show) and that Platinum and its agents and representatives
 28    engaged in overt predicate acts in furtherance of the RICO conspiracy that

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  1    harmed Plaintiff. Analogous case law from this Court analyzing similar but
  2    much less detailed allegations than those presented here has denied similar
  3    motions to dismiss RICO conspiracy claims. The same result is warranted here.
  4          Platinum’s arguments against the Penal Code claim simply ignore the
  5    complaint allegations. Initially, Platinum argues that Rule 9(b) applies to the
  6    Penal Code claim. The SAC, however, alleges a specific set of facts supporting
  7    the Penal Code claim that does not involve fraud or sound in fraud. Platinum
  8    simply ignores this and treats the SAC as if it is identical to the prior complaint.
  9    Regardless, Plaintiff has sufficiently pled the elements of the Penal Code claim
 10    even under a heightened standard.
 11          Finally, Platinum seeks dismissal of the two interference claims, mainly
 12    based on the argument that Yan is not the agent of Platinum and his actions
 13    cannot be attributed to Platinum. Plaintiff pled in detail Yan’s involvement and
 14    control over Platinum such that Yan’s actions can and should be attributed to
 15    Platinum.
 16          For these and the reasons discussed below, Plaintiff respectfully requests
 17    that the Court deny Platinum’s motion. Alternatively, if the Court is inclined to
 18    grant it in whole or in part, Plaintiff requests leave to amend.
 19    II.   ARGUMENT
 20          A.     The RICO Conspiracy Claim Against Platinum Should Not Be
 21                 Dismissed
 22          Platinum mischaracterizes the law and facts in an effort to escape liability
 23    for its role in the RICO conspiracy described by Plaintiff in the SAC. Moreover,
 24    Platinum’s sophistic assertion that the SAC is internally inconsistent is based on
 25    an unreasonably artificial and narrow application of the English language and a
 26    highly inappropriately narrow reading of the SAC and thus should not and
 27    cannot impact this Court’s review of the SAC or support Platinum’s motion to
 28    dismiss. As shown below, even a cursory review of the factual allegations set

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  1    forth in the SAC demonstrates that Plaintiff has more than adequately pled facts
  2    sufficient to satisfy the appropriate required elements of a RICO conspiracy
  3    claim.
  4                   1.     The Detailed Allegations Contained in the SAC More
  5                          Than Adequately Satisfy the Necessary Elements of a
  6                          RICO Conspiracy with Respect to Platinum
  7             Platinum suggests that because the SAC purportedly does not show that
  8    Platinum ever did “anything specific in further of the purported conspiracy” the
  9    RICO conspiracy claim against Platinum must be dismissed. (Motion to
 10    Dismiss, p. 5.) This assertion, however, is inconsistent with the requirements of
 11    the law applicable to a RICO conspiracy claim pursuant to Section 1962(d) and,
 12    moreover, misstates and ignores the substantial and detailed allegations
 13    regarding Platinum’s involvement in the illicit conspiracy to seize and gain
 14    control over Jagex.
 15             As the Supreme Court has held, a RICO conspiracy does not require a
 16    plaintiff to show that each defendant actually engaged in any overt or predicate
 17    acts, only that each defendant engaged in such an act or agreed to participate in
 18    the conspiracy to violate RICO. See e.g., Salinas v. United States, 522 U.S. 52
 19    (1997). As this Court has articulated:
 20             A defendant under § 1962(d) need not have personally committed a
 21             predicate act, or even an overt act in furtherance of the RICO
 22             conspiracy. Salinas, 552 U.S. at 63; Howard v. America Online,
 23             Inc., 208 F.3d 741, 751 (9th Cir. 2000). A RICO defendant must be
 24             “aware of the essential nature and scope of the enterprise and
 25             intended to participate in it.” Baumer, 8 F.3d at 1346. To establish a
 26             violation of § 1962(d), “Plaintiff must allege either an agreement
 27             that is a substantive violation of RICO or that the defendants agreed
 28             to commit, or participated in, a violation of two predicate offenses.”

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  1          Howard, 208 F.3d at 751 (citing Baumer, 8 F.3d at 1346). “The
  2          illegal agreement need not be express as long as its existence can be
  3          inferred from the words, actions, or interdependence of activities
  4          and persons involved.” Oki Semiconductor Co. v. Wells Fargo
  5          Bank, Nat. Ass'n, 298 F.3d 768, 775 (9th Cir. 2002).”
  6          Tatung Company Ltd. v. Hsu, Case No. SA CV 13-1743-DOC (ANx),
  7    2015 WL 11089493, at *6 (C.D. Cal. Oct. 22, 2015) (emphasis added) (denying
  8    motion to dismiss RICO conspiracy claims against all Defendants on a variety of
  9    bases). As the Tatung court further noted, although Rule 9(b) requires that
 10    “‘allegations of fraud are specific enough to give defendants notice of the
 11    particular misconduct which is alleged to constitute the fraud charged so that
 12    they can defend against the charge,” allegations relating to “‘intent, knowledge,
 13    and other conditions of a person's mind may be alleged generally’” because
 14    “Rule 9(b)'s heightened pleading standard may be relaxed when the allegations
 15    of fraud relate to matters particularly within the opposing party's knowledge,
 16    such that a plaintiff cannot be expected to have personal knowledge.” Id. at *5-6
 17    (internal citations omitted).1
 18          Thus, Platinum’s assertion that the RICO conspiracy claim asserted
 19    1
         Platinum’s cited authorities relating to Rule 9(b) also provide little instruction.
 20    See Platinum MTD at p.5 (citing Comwest, Inc. v. Am. Operator Servs., Inc., 765
       F. Supp. 1467, 1471 (C.D. Cal. 1991) and Semegen v. Weidner, 780 F.2d 727,
 21    731 (9th Cir. 1985)). Both of Platinum’s cited authorities generally discuss the
       heightened pleading standard pursuant to Rule 9(b) but otherwise are of little
 22    relevance. In Comvest, for example, the Court granted amotion to dismiss
       because, unlike the detailed allegations of the SAC setting forth in no less than
 23    thirty-five separate paragraphs detailing the specific role and conduct of
       Platinum, the plaintiff in Comvest only included “conclusory allegations that all
 24    of the “defendants ..., and each of them, directly and indirectly, aiding and
       abetting each other, and acting in concert, and through each other and through
 25    [other defendants] fraudulently induced plaintiff.” Comvest, 765 F. Supp. at
       1471. Moreover, neither Comvest or Semegen dealt with a claim under RICO
 26    Section 1962(d) and thus neither case addressed a situation such as here where a
       plaintiff need not plead that each specific defendant actually engaged in any
 27    specific overt or predicate act so long as they can show facts sufficient to infer
       that that they had knowledge of and agreed to participate in the conspiracy. Id.
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  1    against it must be dismissed because Plaintiff has not adequately alleged any
  2    overt or predicate act by Platinum itself is inconsistent with the law and the facts
  3    presented here. The SAC contains more than sufficient details to infer that
  4    Platinum had knowledge of the RICO conspiracy and agreed to participate in the
  5    RICO conspiracy. 2
  6          The details of the court’s holding in the Tatung case are particularly
  7    instructive.3 In that case the court was, as here, faced with a motion to dismiss
  8    RICO conspiracy claims where it had previously dismissed the plaintiff’s
  9    complaint without prejudice as to the RICO conspiracy claims. Following the
 10    Tatung plaintiff’s filing of an amended complaint, the court refused to dismiss
 11    the RICO conspiracy claims even though, similar to here, the plaintiff’s amended
 12    2
         Moreover, Platinum has in fact alleged overt wrongful acts in furtherance of the
       conspiracy by Platinum and Platinum’s agents and representatives that can and
 13    should be attributed to Platinum. See, e.g., SAC at ¶ 71 (describing Platinum’s
       false claims that it purchased Jagex for $530MM), ¶ 46 (describing Platinum’s
 14    unlawful seizure of Jagex based on fraudulent back-dated documents); ¶ 58
       (describing Platinum’s unlawful seizure of Jagex and bribes to Jagex employees)
 15    and ¶ 106(g) (describing Macarthur’s false claim that neither Macarthur nor
       Platinum received the U.K. stop order)
 16    3
         Platinum’s cited RICO related authority (Beck v. Prupis, 529 U.S. 494 (2000),
 17    Canyon Cty. v. Syngenta Seeds, Inc., 519 F.3d 969 (9th Cir. 2008) and Bulan v.
       JP Morgan Chase Bank, 2011 WL 13266527 (N.D. Cal. Apr. 6, 2011)), are not
 18    inapposite but as cited by Platinum misrepresent the standard. As indicated by
       Tatung and the authority cited therein, Plaintiff need not show an over or
 19    predicate act and an agreement to participate in a RICO conspiracy, Plaintiff
       need only show that Platinum performed overt or predicate acts or that Platinum
 20    agreement to participate in the RICO conspiracy. Compare Beck, 529 U.S. 494
       (2000) and Bulan, 2011 WL 13266527 with Salinas, 522 U.S. 52; Howard, 208
 21    F.3d 741; and Tatung 2015 WL 11089493. Similarly, Platinum suggests that
       Plaintiff must allege that it was proximately harmed by some over act of
 22    Platinum (citing Canyon Cty. 519 F.3d 969) but that is simply not the case
       because, as discussed, to prevail on a RICO conspiracy claim a plaintiff need not
 23    show that each specific conspirator engaged in an overt or predicate act but
       merely that each conspirator engaged in an overt or predicate act or agreed to
 24    participate in the conspiracy. Indeed, as Plaintiff’s own cited authority Beck
       indicates, Plaintiff need only show it was harmed as a result of an overt act
 25    performed on behalf of the conspiracy as a whole. See Beck, 529 U.S. at 504-
       507 (discussing that Plaintiff must merely show they were harmed by a tortious
 26    act committed in connection with the conspiracy). Thus, Plaintiff need not show
       that it was harmed as a result of any tortious predicate act by Platinum
 27    specifically but merely that it was harmed as a proximate result of some tortious
       predicate act of any of the RICO conspirators.
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   1   complaint primarily just “supplemented” details regarding the allegations and
   2   “reframed” the RICO allegations without significant change to the main
   3   underlying allegations. Id. at *1.
   4         The Tatung court then went through each group of similarly situated
   5   defendants and refused to dismiss the RICO conspiracy claims as to any of the
   6   defendants. Id. For example, with respect to certain former employees the court
   7   reviewed the allegations and found them sufficient where the plaintiff generally
   8   described each former employees’ role in the alleged RICO conspiracy. See id.at
   9   *7. Plaintiff here has done that and has also provided details regarding each
  10   individual employee or agents specific over and predicate acts in furtherance of
  11   the RICO conspiracy including, among other things, numerous bribes to a variety
  12   of parties and numerous fraudulent statements, which are described in detail. For
  13   example, Plaintiff has clearly described the roles of Macarthur, Belle, Duke and
  14   Huang at Platinum and has described the specific fraudulent activities that each
  15   of these individuals has engaged in with more than sufficient details relating to
  16   the who, what, when and where. See, e.g., SAC at ¶¶ 28-29, 33-35, 38-39, 46-
  17   47, 74-75 and 83-88.
  18         Particularly noteworthy for the purposes of Platinum’s motion to dismiss
  19   here, however, is the Tatung court’s treatment of two entity defendants. These
  20   entity defendants were not alleged to have engaged in any specific overt
  21   fraudulent acts but were alleged to have agreed to participate in the conspiracy.
  22   Id. at *8-9. The entities moved to dismiss on the basis that the plaintiff “had not
  23   alleged the RICO conspiracy claims with specificity and that these defendants
  24   either agreed to a substantive violation of RICO or agreed to violate the statute
  25   through two predicate offenses.” Id. at *8. The court, however, denied their
  26   motion holding that the complaint contained: (a) sufficiently “detailed allegations
  27   regarding how [the entities] were created and received assets to prevent recovery
  28   of those assets by [another entity]'s creditors[;]” (b) that the agreement to

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   1   participate in the conspiracy could be inferred from the specific allegations
   2   regarding the conduct of the entities employees and officers because
   3   “[c]orporations can conspire with their officers to violate RICO[;]” and (c) that
   4   an inference of knowledge could be found because the entities “creation itself
   5   was designed to further the fraudulent Enterprise, and that the entities have been
   6   knowingly run by the same persons who ran other members of the Enterprise to
   7   continue to shelter assets.” Id. at *9. In addition to the specific allegations
   8   regarding Platinum’s wrongful actions, Plaintiff here has made very similar
   9   allegations with respect to Platinum. As Plaintiff has alleged, Platinum was
  10   created “to provide corporate cover for [Yan] to reinvest his wrongfully obtained
  11   funds into SHNT and Jagex and thus maintain control over those entities,” and
  12   Platinum was controlled by agents of Yan who also controlled Macarthur. See,
  13   e.g., SAC at ¶¶ 3-4 (describing Yan’s creation of Platinum and Macarthur for
  14   illicit purposes and his control over these entities through common agents
  15   including Duke, Belle and Huang), ¶ 28 (same), ¶ 29 (describing Yan’s funding
  16   of Platinum with unlawful funds), ¶¶ 35-38 (same), ¶ 39 (describing Macarthur’s
  17   activities as general partner of Platinum including fraudulently claiming
  18   Platinum had acquired Jagex and paid $530MM to purchase Jagex), and ¶¶ 46-39
  19   (describing Platinum’s unlawful seize of control over Jagex and Macarthur’s
  20   fraudulent statement denying the existence of the U.K. stop notice proceedings).
  21   While Platinum raised numerous concerns regarding alleged group pleading in
  22   the prior complaint, Plaintiff has now more than cured this issue by specifically
  23   outlining not only Platinum’s role, actions, agreement to participate in and
  24   knowledge of the RICO conspiracy, but also the role, actions, agreement to
  25   participate in and knowledge of Platinum’s officers, employees and general
  26   partner (Macarthur) in exhausting detail. Indeed, whereas in the prior complaint,
  27   Platinum made much of the limited references to Platinum specifically,
  28   Platinum’s corporate purpose, specific actions or inactions and knowledge of the

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   1   RICO conspiracy are now specifically referenced and detailed in no less than
   2   thirty-five (35) paragraphs of the SAC as well as numerous footnotes and the
   3   Section 1962(d) specific allegations relating to all the Defendants participation in
   4   the RICO conspiracy. See id. at ¶¶ 3-5, 15-16, 28-30, 32-33, 35-37, 38-39, 46-
   5   49, 58, 70-75, 80, 86-88, 90, 105-107 and 112, In addition, the specific acts of
   6   Platinum’s officers and executives including Duke, Belle, Huang and Macarthur
   7   are further detailed in other paragraphs including specific details on what
   8   fraudulent statements or actions were taken, when they were taken, who made
   9   them and, to the best of Plaintiff’s knowledge, where all the relevant parties were
  10   believed to be when they were made.
  11         Accordingly, because the SAC more than adequately pleads facts, in
  12   sufficient detail to satisfy Rule 9(b), demonstrating all of the required elements
  13   of a RICO conspiracy claim pursuant to Section 1962(d) with respect to
  14   Platinum, Platinum’s motion to dismiss the RICO conspiracy claim can and
  15   should be denied.
  16                2. The SAC Does Not Include Any Contradictory Allegations
  17         Perhaps recognizing the futility of their legal argument, Platinum
  18   desperately mischaracterizes the SAC’s allegations in an effort to manufacture an
  19   alleged internal contradiction. (See Motion to Dismiss, pp. 5-6.) Contrary to
  20   Platinum’s assertions, however, a plain reading of the SAC indicates there are no
  21   internal contradictions.
  22         Specifically, Platinum claims that Plaintiff’s allegations that Platinum used
  23   unlawfully obtained funds to “facilitate the purchase of SHNT and Jagex” is
  24   inconsistent with Plaintiff’s allegation that Platinum “never paid a penny for
  25   Jagex.” (See Motion to Dismiss, p. 5-6 (citing SAC at ¶¶ 37 & 73).) As
  26   described in detail in the SAC, however, Platinum used unlawfully obtained
  27   funds to, among other things, support its general operations, to support its
  28   participation in the auction to purchase Jagex, to facilitate costs associated with

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   1   its legal troubles in the U.K. and to generally facilitate its unlawful seizure of
   2   Jagex and its false claims that it had “purchased” Jagex even though Platinum
   3   never in fact paid the alleged purchase price of $530MM. See, e.g., SAC at ¶¶
   4   87-88, 90 & 106(a) (describing the use of Yan’s unlawful racketeering proceeds
   5   to pay Platinum operating costs and transaction related costs, which facilitated
   6   Platinum’s unlawful seizure of Jagex). There is no contradiction in these
   7   allegations but instead these allegations merely demonstrate Platinum’s
   8   involvement in the illicit scheme to take control over Jagex without ever actually
   9   paying the purported purchase price while, falsely claiming to the world that
  10   Platinum had purchased Jagex for a price of $530MM.
  11         B.     Plaintiff Sufficiently Pled Its Claim Under Section 496 of the
  12                Penal Code
  13                1.     Plaintiff is Not Required to Satisfy the Heightened
  14                       Pleading Requirement of Rule of Civil Procedure 9(b)
  15                       Because Its Section 496 Claim is Not Grounded in Fraud
  16         Plaintiff’s claim that Platinum violated Penal Code Section 496 is based on
  17   a discrete subset of facts separate from the facts related to the RICO claim.
  18   These discrete facts do not allege any fraudulent conduct by Plaintiff such that
  19   the heightened pleading requirements of Rule 9(b) would apply. Platinum’s
  20   motion argues that because the Second Amended Complaint (“SAC”) “repeats
  21   nearly all of the FAC’s fraud allegations verbatim, the “[Section] 496 claim
  22   relies almost entirely on [those] preceding allegations of fraudulent conduct,”
  23   and “compliance with Rule 9(b) is [therefore] required.” (Motion, p. 7).
  24   Platinum simply ignores the new allegations in the SAC specific to the Penal
  25   Code claim and that the Penal Code claim does not incorporate all prior
  26   allegations. (See SAC (Docket No. 48), ¶ 167-175.) In the Court’s order
  27   granting the motion to dismiss the FAC, the Court relied in part on the fact that
  28   the Penal Code claim incorporated all the allegation in the complaint, which

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   1   included allegations of fraud. The SAC does not do so because, as stated, there
   2   is a discrete set of facts relevant to the Penal Code claim that does not involve
   3   any allegations of fraud.
   4         The facts relevant to the Penal Code claim are as follows. Plaintiff alleges
   5   that Platinum bid on and won an auction for SHNT and Jagex (“Jagex”) in June
   6   2019 (when Plaintiff was still associated with Platinum). (SAC, ¶ 30.) However,
   7   the transaction was never finalized, and Platinum did not acquire Jagex. (Id. at ¶
   8   31.) At this time, Plaintiff learned of Yan’s involvement with Platinum and
   9   opted to sell its general partner interest to MacArthur, who became the new
  10   general partner of Platinum. (Id. at ¶¶ 32-39.) In early 2020, two Chinese banks,
  11   Huarong and Minsheng, initiated foreclosure proceedings against Jagex. (Id. at ¶
  12   40.) On April 17, 2020, a Chinese court issued an order transferring 100%
  13   interest in Jagex to Huarong and Minsheng (Huarong received a 55% interest and
  14   Minsheng received a 45% interest). (Id. at ¶ 45.) On April 22, 2020, Platinum
  15   attempted to unlawfully seize control of Jagex, five days after the Chinese court
  16   issued an order transferring 100% interest in Jagex to Huarong and Minsheng.
  17   (Id. at ¶¶ 46-47.) Huarong and Minsheng rushed into a court in England and
  18   obtained a Stop Notice blocking Platinum’s purported ownership interest and
  19   blocking any transfer of Jagex shares. (Id. at ¶ 47.) Huarong subsequently
  20   placed its 55% interest in Jagex up for auction. (Id. at ¶ 55.) In August 2020,
  21   Plaintiff, through a Chinese subsidiary, bid on and won Huarong’s 55%
  22   ownership interest in Jagex at a public auction. (Id. at ¶ 55.) Plaintiff was in the
  23   process of completing that transaction when Yan (acting individually and on
  24   behalf of Platinum/Macarthur) engaged in illegal activities to influence Huarong
  25   not to complete the transfer. (Id. at ¶¶ 57-61, 68-69.) At some point in time in a
  26   mysterious transaction, Huarong purports to have transferred its 55% interest in
  27   Jagex to Minsheng. In the state court litigation against The Carlyle Group
  28   (“Carlyle”), one of its associate directors, Andrew Tan, submitted a declaration

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   1   regarding Carlyle’s purported acquisition of Jagex. (Id. at ¶ 69.) Carlyle, one of
   2   the largest private equity companies in the world, in a transaction valued at $686
   3   million dollars, on the critical issue of how Huarong transferred its 55% interest,
   4   could only state in meek terms that it “understood” that Minsheng owned 100%
   5   of Jagex and that Carlyle had an “understanding” that Minsheng acquired
   6   Huarong’s 55% interest. (Id.) Shockingly, Carlyle admitted it “was not privy to
   7   the specific details” of the acquisition, but essentially relied on representations
   8   made by Huarong and Minsheng, two notoriously corrupt banks. (Id.) There is
   9   no documentation of this transfer because if it occurred, it was illegal given that
  10   Huarong knew it was contractually obligated to transfer its 55% interest to
  11   Plaintiff and had no legal right to transfer it to Minsheng.
  12         Next, Minsheng appears to have sold 100% of its interest in Jagex to
  13   Carlyle (id.) but not before Yan and Platinum signed legal documents aiding in
  14   Carlyle purported acquisition of a stolen asset. Platinum, despite knowing it
  15   never paid a penny for Jagex and had no legal right to any shares in Jagex, did
  16   not relinquish its claim to Jagex, as evidenced by the continued Stop Order
  17   issued by the court in England. (Id. at ¶ 73.) After (and potentially before)
  18   Plaintiff’s successful auction bid, Platinum began negotiations with Carlyle to
  19   aid and assist Carlyle’s purported acquisition of 100% of the share of Jagex.
  20   (Id.) Despite Platinum’s bogus claim to ownership of Jagex, Carlyle nonetheless
  21   felt it was important to get its release of Platinum’s claimed interest in Jagex.
  22   (Id.) This was accomplished by Platinum, and others, signing a “Framework
  23   Deed” prepared by Carlyle that cleared the path for Carlyle’s purported
  24   acquisition of 100% of Jagex from Minsheng. (Id.) The Deed was executed on
  25   or about December 10, 2020 by Duke, individually and on behalf of Platinum.
  26   (Id.) Without this document, Carlyle could not or would not have been able to
  27   purportedly acquire 100% of Jagex from Minsheng. Yan and Platinum therefore
  28   assisted in the sale of an asset, a portion of which was stolen, i.e., the 55%

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   1   interest Minsheng acquired from Huarong.
   2         Nowhere in the SAC does Plaintiff allege that Platinum made any
   3   misrepresentation or engaged in any fraudulent conduct. Instead, that Platinum
   4   aided in the sale of Huarong’s 55% interest in Jagex (transferred improperly to
   5   Minsheng) to Carlyle knowing it was a stolen asset. Theft can occur with or
   6   without any type of fraud and here it occurred without fraud. For example, an
   7   individual could walk into a store and claim that he paid for an item, but it was
   8   not included in his bag for some reason. A salesperson could rely on that
   9   misrepresentation and give the person the item. That would be a theft by fraud.
  10   Conversely, a person could walk into a store, pick up an item, and run out of the
  11   store without paying for it. That is also a theft but does not involve any fraud.
  12   Here, the latter applies. Huarong, essentially, ran into the store and stole
  13   Plaintiff’s 55% interest in Jagex and purported to transfer it to Minsheng.
  14   Platinum then aided in the sale of that stolen property by signing documents
  15   releasing any interest it claimed in Jagex, a necessary step that allowed Carlyle to
  16   purchase 100% of Jagex from Minsheng. None of this sounds in fraud.
  17         Notably, even if the Court were to find that Section 9(b) applies, Plaintiff’s
  18   SAC pleads the facts necessary to establish the requisite specificity: “Averments
  19   of fraud must be accompanied by “the who, what, when, where, and how” of the
  20   misconduct charged.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th
  21   Cir. 2003). Plaintiff has identified the “who” as defendant, Platinum Fortune,
  22   LP. (SAC, at ¶¶ 58-75.) The “what” is the purported sale of 100% interest in
  23   Jagex to Minsheng then Carlyle even though Platinum knew that Plaintiff legally
  24   retained 55% interest therein. (Id. at ¶ 68-75.) The timeframe is late-January
  25   2021 when members of Carlyle were placed on the board of Jagex, and Carlyle
  26   suddenly announced the purchase. (Id. at ¶ 68.) Plaintiff provides great detail to
  27   illustrate the “how” by describing (1) the efforts it took for Plaintiff to bid on and
  28   win Huarong’s 55% effort in SHNT/Jagex (Id. at ¶ 54-55), (2) the creation of a

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   1   binding contract between Plaintiff and Huarong (Id. at ¶ 55-56), (3) how
   2   Platinum’s bribes induced Huarong’s breach of its contractual obligation to
   3   Plaintiff and, ultimately, the sale of its interest to Minsheng.
   4         To support its position that Rule 9(b) applies, Platinum relies on
   5   inapplicable authority, Fodor v. Blakey, 2012 WL 12893986 (C.D. Cal. Feb. 21,
   6   2012), and ignores the above complaint allegations. In Fodor, plaintiffs alleged
   7   that defendant represented himself to plaintiffs as a “famous record producer and
   8   business manager with extensive experience helping his “famous clientele”
   9   manage their money and investments.” Fodor, 2012 WL 12893986 at *1.
  10   Defendant approached plaintiffs about using his “extensive talents” as a skilled
  11   broker, investment, and business manager to manage their investment portfolios.
  12   Id. at *2. Further, defendant “specifically and repeatedly stated that he had all
  13   the necessary qualifications and licenses to serve as an investment advisor…”
  14   Id. Unbeknownst to plaintiffs at the time, defendant made the above
  15   representations knowing that he was not licensed by the SEC as an investment
  16   advisor or securities broker, and that he was not licensed by the state of
  17   California to sell securities to investors. Id. Relying on defendant’s
  18   misrepresentations, plaintiffs gave defendant approximately $8 million to invest
  19   in seven (fraudulent) investment schemes. Id. Undoubtably, the facts in Fodor
  20   are grounded in a fraud cause of action because it is evident that but for the
  21   defendant’s blatant lies, plaintiffs would not have entrusted defendant with their
  22   money. Id.
  23         The present case is distinguishable from Fodor because the allegations in
  24   support of the Section 496 claim do not sound in fraud. Rather, they involve a
  25   conspiracy among parties to steal portions of Jagex and the resulting theft
  26   thereof. Thus, the heightened pleading requirements of Rule 9(b) do not apply.
  27                2.     Plaintiff Has Properly Pled a Claim Under California
  28                       Penal Code Section 496(a)

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   1         Under California law, a properly plead Section 496(a) claim requires the
   2   plaintiff to establish that: (i) property was stolen, (ii) defendant aided in the
   3   selling of the stolen asset, (iii) knowing it was stolen. Verdugo-Gonzalez v.
   4   Holder, 581 F.3d 1059, 1061 (9th Cir. 2009); People v. Anderson, 210
   5   Cal.App.3d 414, 420 (1989). As stated, the statute covers individuals who
   6   provide “aid” in concealing, selling, or withholding stolen property from the
   7   owner, knowing the property to be stolen or so obtained. See Cal. Penal Code §
   8   496(a). “Assuming a defendant’s knowledge that the properly at issue was
   9   stolen, section 496(a) may be violated in either of two ways: (1) by buying or
  10   receiving any property that has been stolen or (2) by concealing, selling,
  11   withholding, or aiding in concealing, selling, or withholding any property from
  12   the owner.” Allure Labs, Inc. v. Markushevska, 606 B.R. 51, 60 (N.D. Cal.
  13   2019).
  14         First, the element that property was stolen has been sufficiently pled. The
  15   broad language of Section 496 applies to “any property.” People v. Kunkin, 9
  16   Cal.3d 245, 249 (1973). Consequently, “[a]nything that could be the subject of a
  17   theft can also be property under section 496” including intangible property and
  18   trade secrets. People v. Gopal, 171 Cal.App.3d 524, 541 (1985). Moreover,
  19   Section 496’s broad language is “intended to include property which has been
  20   obtained not only by theft by larceny (i.e., stealing) but also by such other forms
  21   of theft as embezzlement.” Kunkin, 9 Cal.3d at 249.
  22         Next, there has been a theft of Jagex. As discussed above in detail,
  23   Huarong breached its contractual obligation to Plaintiff to sell its 55% interest in
  24   Jagex based on the improper conduct of Yan (individually and on behalf of
  25   Platinum). Huarong then purportedly sold its 55% interest in Jagex to Minsheng
  26   (although the details of this purported transaction are unknown to Plaintiff at this
  27   time and unknown to Carlyle who now claims to own Jagex). Huarong’s transfer
  28   of its 55% interest in Jagex to Minsheng was a breach of contract and a theft

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   1   from Plaintiff. Then, Minsheng purportedly sold 100% of Jagex to Carlyle,
   2   another sale of a stolen asset.
   3         Platinum, in its Motion, cites to Siry Inv., L.P. v. Farkhondepour, 45 Cal.
   4   App. 5th 1098 (2020) in its attempt to establish that Section 496 is inapplicable
   5   to intangible goods. (Motion, p. 9.) Platinum claims that even though the
   6   California Supreme Court has granted review of Siry to resolve a conflict on this
   7   very issue, the Court should follow the Siry court’s analysis. (Id.) Other than a
   8   conclusory statement presented in a footnote, Platinum does not provide any
   9   persuasive reasoning as to why the Court should follow the contested ruling in
  10   Siry as opposed to the well-established precedent in Kunkin that Section 496
  11   applies to any property.”
  12         A recent federal decision rejected Siry, Otte v. Naviscent, 624 B.R. 883
  13   (N.D. Cal. 2021). Otte involved money that a debtor embezzled from a former
  14   client while providing bookkeeping services. The court found that “[t]he
  15   underlying conduct in our case is the crime of embezzlement, not a tort.” Otte¸
  16   624 B.R. at 913. As such, “[a]pplying section 496 here would not upend
  17   California tort law.” Id. The court concluded that Siry "is not on all fours with
  18   this case.” Id. Siry is also inconsistent with Switzer v. Wood, 35 Cal.App.5th 116
  19   (2019) and Bell v. Feibush, 212 Cal.App.4th 1041 (2013). Plaintiff believes
  20   these are the better reasoned decisions and the California Supreme Court will
  21   side with those cases, as should this Court.
  22         Second, Platinum “aided” in the sale of Jagex. As discussed, Yan, acting
  23   individually and on behalf of Platinum engaged in illegal conduct to block the
  24   sale of Huarong’s 55% interest in Jagex to Plaintiff which led to the purported
  25   sale of that interest to Minsheng. Then, to aid in the sale between Minsheng and
  26   Carlyle, Yan and Platinum signed legal documents releasing whatever purported
  27   rights they had in Jagex so that Carlyle could acquire 100% interest in Jagex
  28   from Minsheng. Without Yan and Platinum’s actions the sale to Carlyle would

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   1   not have occurred.
   2         Platinum argues that Plaintiff did not sufficiently plead that Platinum
   3   “substantially” aided in the sale of Jagex to Carlyle, citing to a single case, Casey
   4   v. U.S. Bank Nat. Assn., 127 Cal.App.4th 1138, 1145-1146. (2005). The Casey
   5   case does not involve Section 496 of the Penal Code, rather it involves a routine
   6   aiding and abetting claim, which does require “substantial” assistance. Section
   7   496 of the Penal Code, however, does not require “substantial” aid. The
   8   language of the statute merely states that it applies to every person that “aids in
   9   concealing, selling, or withholding any property.” The word “substantial” does
  10   not appear in the statute and Platinum does not cite to any authority to support
  11   adding this heightened requirement to the statute. Platinum is simply wrong in
  12   arguing “substantial” aid is required.
  13        Third, Plaintiff contends that Platinum knew that Huarong’s 55% interest
  14   was stolen. While knowledge is an essential element for satisfactorily pleading a
  15   claim under Section 496, actual knowledge is not required. People v. Lodge, 190
  16   Cal.App.2d 865, 872 (1961); People v. Boyden, 116 Cal.App.2d 278, 287 (1953).
  17   Knowledge may be circumstantial and deductive. People v. McClain, 115
  18   Cal.App. 512, 516 (1931); People v. Mercado, 59 Cal.App. 69, 73 (1922). Here,
  19   Plaintiff alleges that Yan was controlling Platinum and acting as its agent and
  20   that Platinum knew exactly what was happening with Jagex at all times through
  21   Yan. Plaintiff alleges that it purchased Huarong’s 55% interest in Jagex and had
  22   a legal right of ownership in that interest. (SAC at ¶¶ 56-58.) Plaintiff further
  23   alleges that Yan interfered in the transfer of Huarong’s interest to Plaintiff by
  24   bribing Huarong to breach its contractual obligations to Plaintiff and sell its
  25   interest in Jagex to Minsheng instead. (Id. at ¶ 58.)
  26        There is a plethora of circumstantial evidence from which it can properly
  27   be inferred that Platinum knew of Plaintiff’s legally binding interest in Jagex.
  28   Platinum had discussions with Huarong regarding a possible private purchase of

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   1   Huarong’s interest in Jagex. (SAC, at ¶ 54.) Platinum and MacArthur had, at
   2   one point, falsely claimed to have purchased Jagex, appointed a Board of
   3   Directors and opened an office in Irvine, California (Id. at ¶ 71.) From these
   4   facts, it can be inferred that Platinum kept a close watch on Huarong’s interest,
   5   awaiting the perfect opportunity to seize it. It follows that Platinum was fully
   6   aware of the results of the public auction for the sale of Huarong’s interest in
   7   Jagex.
   8         Platinum has sufficient pled is claim for violation of Section 496 of the
   9   Penal Code.
  10            C.    Plaintiff Has Successfully Plead a Claim for Tortious
  11                  Interference with Contractual Relations
  12            The elements for the tort of intentional interference with contractual
  13   relations are (1) a valid contract between plaintiff and a third party, (2)
  14   defendant’s knowledge of this contract, (3) defendant’s intentional acts designed
  15   to induce a breach or disruption of the contractual relationship, and (4) resulting
  16   damage. United Nat. Maintenance, Inc. v. San Diego Convention Center, Inc.,
  17   766 F.3d 1002, 1006 (9th Cir. 2014).
  18            As explained above, a valid contract was formed between Plaintiff and
  19   Huarong. (SAC at ¶ 56.) Circumstantial evidence (e.g., Platinum’s previous
  20   attempts to steal Jagex (id. at ¶ 39), the public nature of the auction (id. ¶ at 72.))
  21   clearly demonstrates Platinum’s knowledge of the contract. Platinum through
  22   Yan bribed Huarong to breach its contractual obligations to Plaintiff and sell its
  23   interest in Jagex (the interest which Huarong was legally obligated to transfer to
  24   Plaintiff) to Minsheng. (Id. at ¶ 68.) As a result of Platinum’s tortious
  25   interference with Plaintiff’s and Huarong’s contract, Plaintiff suffered monetary
  26   damages and never received its rightful ownership interest in Jagex. (Id. at ¶¶
  27   160-161.)
  28            Platinum alleges that it cannot be liable for Yan’s actions as an agent

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   1         absent
   2   allegations to show the existence of an agency relationship. (Motion, p. 10.)
   3   Thus, Platinum reasons that it is “nonsensical and indeed contrary to the basics
   4   of agency law that Yan could simultaneously control Platinum and also be
   5   Platinum’s agent.” (Id.) Platinum offers no evidence to substantiate these
   6   conclusory allegations aside from miscellaneous quotations from a few cases that
   7   do not address Platinum’s incorrect theory.
   8         If fact, other courts have acknowledged that an individual may act as both
   9   principal and agent. See Foster Poultry Farms, Inc. v. Suntrust Bank, 2008 WL
  10   160960 at *37 (E.D. Cal. 2008)(“Where an agent act in the dual role of agent and
  11   principal for itself and others and performs all duties under a contract, it should
  12   be fully liable; Restatement (2d) of Agency, Section 328, Comment b (“In many
  13   cases, the agent is a party to the contract made by him on behalf of a disclosed
  14   principal and, as such, is responsible for its performance.”); American Bureau of
  15   Shipping v. Tencara Shipyard S.P.A., 170 F.3d 349, 353 (2d Cir. 1999)(“There is
  16   no merit in Tencara’s argument, which is based on the mistaken notion that a
  17   party must be either solely a principal or solely an agent.”); Diaz v. Allstate Ins.
  18   Group, 185 F.R.D. 581, 592 (C.D. Cal. 1998)(“The Court finds that it is
  19   reasonably possible that the recently-added defendants served as agents of
  20   Allstate and independent contractors at the same time); Turner v. Yates, 57 U.S.
  21   14, 25 (U.S. 1853)(“If one party has dealt with another as an agent, it would be
  22   strange if the transaction should be held invalid because it was proved on trial
  23   that he was principal – and é converso. The substantial question, in such a case,
  24   is a question of power to do an act; and this power may be shown, either by he
  25   had it in his own right or derived it from another.”)
  26         Here, the SAC establishes that Yan and Platinum are, and always have
  27   been, one in the same: Platinum is a special purpose vehicle entity that was
  28   established to purchase Jagex through an auction process. (SAC at ¶ 15.)

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   1   Plaintiff was approached by agents of Yan and agreed to form Platinum for the
   2   purpose of bidding on and acquiring Jagex at an auction. (Id. at ¶ 28.) Plaintiff
   3   served as general partner of Platinum owning 2%. (Id.) At the time of
   4   formation, Plaintiff was unaware that funds supplied by Platinum to facilitate the
   5   purchase of Jagex were stolen funds from Yan. (Id.). After further investigation,
   6   when Yan’s involvement in Platinum became apparent, Plaintiff sold its general
   7   partner interest in Platinum to MacArthur. (Id. at ¶ 39.) MacArthur is Yan’s
   8   corporate proxy, created to serve Yan’s objective to maintain control of Jagex by
   9   whatever means necessary. (Id. at ¶ 3.) Thus, Plaintiff’s sale of its general
  10   partner interest in Platinum to MacArthur was, in effect, a sale to Yan. Yan, as
  11   both principal and agent of Platinum, carries out his criminal schemes through
  12   Platinum and MacArthur.
  13         D.     Plaintiff Has Successfully Pled a Claim for Tortious
  14                Interference with Prospective Economic Relations
  15         Under California law, to properly plead tortious interference with
  16   prospective economic relations, a plaintiff must show: “(1) an existing economic
  17   relationship between plaintiff and a third-party, with the probability of future
  18   economic benefit; (2) defendant’s knowledge of the relationship; (3) intentional
  19   acts on part of defendant designed to disrupt that relationship, (4) actual
  20   disruption of the relationship; and (5) economic harm to plaintiff proximately
  21   caused by defendant’s acts.” Kamal v. City of Los Angeles, 2019 WL 7195903,
  22   at *4 (C.D. Cal. Nov. 26, 2019).
  23         Here, Plaintiff bid on and won Huarong’s interest in Jagex, creating a
  24   contractual as well as economic relationship between the parties. (SAC, at ¶¶ 54-
  25   56.) Platinum was aware, based upon the circumstantial evidence described
  26   above, that Plaintiff had won Huarong’s interest in Jagex at a public auction. (Id.
  27   at ¶ 72.) Platinum intentionally bribed Huarong to cease communications with
  28   Plaintiff and breach its obligation to finalize its transactions with Plaintiff. (Id. at

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   1   ¶¶. 58-60, 149.) Huarong accepted the bribe and Platinum facilitated the transfer
   2   of interest to Minsheng then Carlyle despite Plaintiff’s established ownership
   3   interest. (Id. at ¶¶ 68-75, 157-161.) As a result of Platinum’s nefarious actions,
   4   Plaintiff suffered economic harm did not receive the benefit of its contract with
   5   Huarong. (Id. at ¶ 157-161.)
   6            Lastly, for the reasons explained above and contrary to Platinum’s baseless
   7   allegations, an agency relationship between Yan and Platinum can, and does,
   8   exist.
   9   III.     CONCLUSION
  10            Based on the foregoing reasons, Plaintiff respectfully requests that the
  11   Court deny Platinum’s Motion to Dismiss. To the extent that the Court agrees
  12   with Defendant’s Motion to Dismiss, Plaintiff requests leave to amend its Second
  13   Amended Complaint.
  14

  15
       Date: November 15, 2021                    LEVATOLAW, LLP

  16                                              /s/ Stephen D. Weisskopf
  17                                              Stephen D. Weisskopf
                                                  Attorneys for Plaintiff
  18                                              PLUTOS SAMA HOLDINGS, INC.
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    1                                 PROOF OF SERVICE
    2

    3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

    4       At the time of service, I was over 18 years of age and not a party to this
    5 action. I am employed in the County of Los Angeles, State of California. My
      business address is 2029 Century Park East, Suite 400, Los Angeles, California
    6 90067.

    7
              On November 15, 2021, I served true copies of the following document(s)
    8 described as PLAINTIFF’S OPPOSITION TO DEFENDANT PLATINUM’S
        MOTION TO DISMISS SECOND AMENDED COMPLAINT on the interested
    9 parties in this action as follows:
   10                       James N. Kramer (jkramer@orrick.com)
   11                         M. Todd Scott (tscott@orrick.com)
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   17
        BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on an agreement of
   18 the parties to accept service by e-mail or electronic transmission, I caused the

   19 document(s) to be sent from e-mail address sweisskopf@levatolaw.com to the
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   20 time after the transmission, any electronic message or other indication that the

   21 transmission was unsuccessful.

   22        I declare under penalty of perjury under the laws of the State of California
   23 that the foregoing is true and correct.

   24         Executed on November 15, 2021 at Los Angeles, California.
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   26                                               /s/ Stephen D. Weisskopf
                                                  Stephen D. Weisskopf
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